     Case: 1:15-cv-04692 Document #: 1 Filed: 05/27/15 Page 1 of 6 PageID #:1



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

ROBERT NORRIS,

             Plaintiff,

v.                                                   15 CV 4692

CITY OF HOMETOWN, KEVIN CASEY,                       PLAINTIFF DEMANDS TRIAL
and CHARLES FORSYTH,                                 BY JURY

             Defendants.

                                    COMPLAINT

      NOW COMES ROBERT NORRIS, by and through his attorney, JONATHAN
LUBIN, and Complains of the CITY OF HOMETOWN, KEVIN CASEY and CHARLES
FORSYTH, stating:

                                    Introduction

1.    This is a civil action brought pursuant to 42 U.S.C. § 1983 et. Seq, the Fifth
and Fourteenth Amendments to the Constitution of the United States, and
pursuant to the common law of the State of Illinoois.

                               Jurisdiction and Venue

2.    This Court has jurisdiction over the matters alleged herein under the
Constitution and federal law pursuant to 28 U.S.C. § 1331, and 28 U.S.C. § 1343. It
has supplemental jurisdiction over the state law claims pursuant to 28 U.S.C. §
1367.

3.     Venue is proper pursuant to 28 U.S.C. § 1391(b) because all of the
Defendants reside within the Northern District of Illinois, and a substantial portion
of the events upon which the claim for liability is based occurred in the Northern
District of Illinois.
      Case: 1:15-cv-04692 Document #: 1 Filed: 05/27/15 Page 2 of 6 PageID #:2



                                        Parties

4.    Robert Norris (“Norris”) is a resident of the State of Illinois, and was, for the
relevant period, an employee of the City of Hometown.

5.   The City of Hometown (“Hometown”) is a municipality located within Cook
County, Illinois. For the relevant time, it employed Norris as a police officer.

6.     Kevin Casey (“Casey”) was, for the relevant time, the mayor of Hometown,
and is sued here in his individual capacity for actions he took by virtue of that
position, under color of law.

7.     Charles Forsyth (“Forsyth”) was, for the relevant time, the Chief of Police of
Hometown, and is sued here in his individual capacity for actions he took by virtue
of that position, under color of law.

                             Facts Common to All Counts

8.     Until July 28, 2014, Officer Robert Norris was a police officer for Hometown,
Illinois.

9.    The ordinances of Hometown provide that patrolmen are “at-will” employees
of Hometown. It does not provide that any other employees of the Hometown Police
Department are “at-will.”

10.   Norris was not a patrolman. Rather, he was an officer, a more senior position.
As such, he was not an “at-will” employee, but rather an employee who could only
be terminated for cause. The applicable ordinances also stated that officers could
only be terminated by the Mayor, and not by the Chief of Police.

11.    Norris was, therefore, entitled to a pre-termination hearing, and a more
robust post-termination hearing under Cleveland Board of Education v. Loudermill,
470 U.S. 532 (1985); see also Carmody v. Board of Trustees of the University of
Illinois, ___ F.3d ___ (7 Cir. 2014).

12.    On July 25, 2014, Norris responded to a call regarding a dog, believed to be a
mix between a German Sheppard and a Pit Bull. According to the call, the dog had
escaped its yard, and was at large. After Norris received the call, he proceeded to
the scene of the event in progress.
      Case: 1:15-cv-04692 Document #: 1 Filed: 05/27/15 Page 3 of 6 PageID #:3




13.    When he arrived, he spoke with an individual named Nicole E., who stated
that the dog was her sister’s, that she did not want to be responsible for the dog,
that the dog had escaped, and that the dog periodically escapes at will.

14.   While Norris and several other officers attempted to corral the dog back into
the back yard from whence it came, the dog began to advance on Norris while
simultaneously growling at him. As the dog began to advance on Norris, Norris
began to fear for his safety and for the safety of others nearby.

15.    He therefore pulled his service weapon out, pursuant to his training as a
police officer of Hometown, Illinois, and discharged the weapon at the dog. At the
time he did so, the German Sheppard-Pit Bull mix was within three feet of Officer
Norris, and was advancing on him while growling at him.

16.   As a result of the incident, the City of Hometown received considerable press
coverage over the next several days.

17.    On July 28, 2014, the Chief of Police (not the Mayor) issued a letter to the
press, and to other officers, stating that he had terminated Officer Norris over the
incident. Norris was terminated without either a pre-termination hearing or a post-
termination hearing.

18.    The letter contained a number of defamatory statements regarding Norris,
and his job performance. For example, the letter stated that “when we take that
oath of office as Police Officers we swear to serve and protect.” As if to suggest that
Office Norris was somehow in violation of that oath, the letter continued that
officers “must at times consider the safety of the lives and welfare of others.” It then
posited that “if an Officer makes a decision that endangers the lives and safety of
the public then no I will not back them up” (sic).

19.   The termination was despite Forsyth, and Casey’s awareness of the fact that
Norris’s decisions were consistent with his training, and that they were made for
the sake of protecting himself, and the lives and welfare of others.

20.   Had Norris been given a hearing to determine whether he could be
terminated “for cause,” he would have emerged victorious, because he did not give
anybody cause to terminate him.
      Case: 1:15-cv-04692 Document #: 1 Filed: 05/27/15 Page 4 of 6 PageID #:4



21.    However, he was not given a hearing at any time.

22.    As a result of the termination, and of the defamation, Norris suffered
damages. First of all, he lost his job with Hometown, which meant that he no longer
was making the money he otherwise would have made from Hometown. Further, he
lost a part-time position he had as a security guard as a result of the termination.

23.    The damages did not stop there, however. The termination, and the
defamation, also threatened Norris’s job as a fraud investigator for an insurance
company. The defamatory letter inspired people across the country to call Officer
Norris at all times of day, and threaten him. Altogether, these damages have
effected Norris’s reputation, his ability to earn an income, and his emotional
wellbeing.

                             Count I – Due Process Claim
                                  42 U.S.C. § 1983

      Plaintiff repeats and re-alleges paragraphs 1-23 as if stated herein in full.

24.   Plaintiff was entitled to his employment absent good cause for his
termination.

25.   He was also entitled to certain due process requirements, including notice,
and a hearing.

26.    There was no good cause for his termination, and he was not given a hearing.

27.   As a result, he not only lost his employment wrongfully, but was defamed in
the process, causing damages.

                   Count II – Deprivation of Plaintiff’s Reputation
                                 42 U.S.C. § 1983

      Plaintiff repeats and re-alleges paragraphs 1-27 as if stated herein in full.

28.    Plaintiff possessed a liberty interest in his employment and his professional
reputation. Forsyth’s letter, accompanying Plaintiff’s termination, violated that
liberty interest.
      Case: 1:15-cv-04692 Document #: 1 Filed: 05/27/15 Page 5 of 6 PageID #:5



29.    That defamation was adopted by the mayor, Kevin Casey on behalf of the
entire municipality.

30.    As a result, Plaintiff suffered damages.

                             Count III – Equal Protection
                                  42 U.S.C. § 1983

      Plaintiff repeats and re-alleges paragraphs 1-30 as if stated herein in full.

31.   The decision to terminate Plaintiff, and to defame him, was arbitrary, and
was not based upon any rational or legal interest of the City of Hometown.

32.    At all times, Plaintiff acted properly, and in accordance with his training as a
Hometown police officer, and with his right to defend his own life and safety they
are threatened.

33.    As a result of Defendants’ actions, Plaintiff suffered damages.

                                Count IV – Defamation

      Plaintiff repeats and re-alleges paragraphs 1-33 as if stated herein in full.

34.   Plaintiff suffered damages due to Defendants defamatory letter, which was
published to the national media.

35.   His reputation was not just damaged in Hometown, Illinois, where he was
employed, but across the entire country, as the national media reported the letter,
which stated wrongfully that Plaintiff acted in an arbitrary and even dangerous
manner.

                Count V – Intentional Infliction of Emotional Distress

      Plaintiff repeats and re-alleges paragraphs 1-35 as if stated herein in full.

36.    As a result of Defendants’ actions, Plaintiff’s reputation suffered, he lost two
different jobs, his name was smeared before the entire United States of America,
wrongfully, and he began to receive multiple hateful and threatening phone calls to
      Case: 1:15-cv-04692 Document #: 1 Filed: 05/27/15 Page 6 of 6 PageID #:6



his home. Plaintiff took certain steps that had not been taken, prior to that time, to
ensure his own safety, and the safety of his family and his home.

37.   In two words, Defendants’ actions were extremely outrageous.

37.   All of this caused Plaintiff to suffer emotional distress.

       WHEREFORE, Plaintiff requests that this Honorable Court enter an Order
fining that Defendants are liable for Intentional Infliction of Emotional Distress,
Defamation, and under 42 U.S.C. § 1983 to Plaintiff, and required Defendants to:
       (a) Reinstate Plaintiff to his prior position, with all benefits and seniority
intact as if Plaintiff had been employed from the date of his termination until the
time of the entry of a final order;
       (b) Pay Plaintiff back wages equivalent to the wages, including benefits, he
would have earned had he been employed from the moment of his termination until
the entry of a final order;
       (c) Pay damages to Plaintiff for emotional distress, and other consequential
damages suffered by Plaintiff based upon Defendant’s actions;
       (d) Pay Plaintiff’s reasonable attorneys fees associated with bringing this
action;
       (e) All other damages to which this Court deems Plaintiff is entitled; and
       (f) All other damages that this Court deems to be just, and equitable.

Respectfully Submitted,

s/Jonathan Lubin
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